                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION – DETROIT

IN THE MATTER OF:
 Joseph G. DuMouchelle, and                  Bankruptcy Case No. 19-54531
 Melinda J. Adducci                          Honorable Phillip J. Shefferly
                                             Chapter 7
                     Debtors.

 STIPULATION FOR ENTRY OF ORDER EXTENDING DEADLINES TO
  (1) OBJECT TO DEBTORS’ DISCHARGES PURSUANT TO 11 U.S.C. §
     727; AND (2) OBJECT TO THE DISCHARGEABILITY OF DEBTS
                     PURSUANT TO 11 U.S.C. § 523

      NOW COMES Chapter 7 Trustee, Fred J. Dery, (the “Trustee”), and Joseph

G. DuMouchelle, and Melinda J. Adducci (collectively, the “Debtors”), each by and

through their undersigned counsel who do hereby stipulate to the entry of the

attached order.

      Approved as to form and content.

STEVENSON & BULLOCK, P.L.C.

By: /s/ Elliot G. Crowder                    By: /s/ Robert N. Bassel
Elliot G. Crowder (P76137)                   Robert N. Bassel (P48420)
Counsel for Trustee                          Counsel for Debtors
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Email: ecrowder@sbplclaw.com
                                             Dated: June 8, 2020
Dated: June 6, 2020




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IN THE MATTER OF:
 Joseph G. DuMouchelle, and                  Bankruptcy Case No. 19-54531
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                                             Chapter 7
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   ORDER EXTENDING DEADLINES TO (1) OBJECT TO DEBTORS’
DISCHARGES PURSUANT TO 11 U.S.C. § 727; AND (2) OBJECT TO THE
    DISCHARGEABILITY OF DEBTS PURSUANT TO 11 U.S.C. § 523

      THIS MATTER having come before this Honorable Court upon the

stipulation of the parties and the Court being fully advised in the premises;

      NOW THEREFORE;

      IT IS HEREBY ORDERED that the time under Rule 4004 of the Federal

Rules of Bankruptcy Procedure for all creditors and parties in interest, including

the Chapter 7 Trustee and the Office of the United States Trustee to object to the

Debtors’ discharge(s) under 11 U.S.C. § 727 is extended through and including

September 30, 2020.

      IT IS FURTHER ORDERED that the time under Rule 4007 of the Federal

Rules of Bankruptcy Procedure for all creditors to object to the dischargeability of

the debts as to either (or both) Debtor(s) under 11 U.S.C. § 523(a)(2), (4), and/or (6)

is extended through and including September 30, 2020.




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      IT IS FURTHER ORDERED that the extensions of time provided herein are

without prejudice to the rights of all creditors and parties in interest, including the

Chapter 7 Trustee and the Office of the United States Trustee, to seek further

extensions by stipulation or motion.




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